Case: 1:18-cv-06967 Document #: 1-4 Filed: 10/17/18 Page 1 of 9 PageID #:29




                            EXHIBIT 4
                Case: 1:18-cv-06967 Document #: 1-4 Filed: 10/17/18 Page 2 of 9 PageID #:30


To:                  PICCIOLINI, CHRISTIAN (marcus.harris@saul.com)
Subject:             U.S. TRADEMARK APPLICATION NO. 87682122 - EXITUSA - N/A
Sent:                2/26/2018 12:37:39 PM
Sent As:             ECOM123@USPTO.GOV
Attachments:         Attachment - 1
                     Attachment - 2
                     Attachment - 3

                                 UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)
                        OFFICE ACTION (OFFICIAL LETTER) ABOUT APPLICANT’S TRADEMARK APPLICATION

                                  U.S. APPLICATION
                                  SERIAL NO. 87682122

                                  MARK: EXITUSA
                                                           *87682122*
                                  CORRESPONDENT
                                  ADDRESS:                 CLICK HERE TO RESPOND TO THIS
                                      MARCUS STEPHEN       LETTER:
                                  HARRIS                   http://www.uspto.gov/trademarks/teas/response_forms.jsp
                                      SAUL EWING
                                  ARNSTEIN & LEHR,         VIEW YOUR APPLICATION FILE
                                  LLP
                                      161 N. CLARK
                                  STREET
                                      SUTIE 4200
                                      CHICAGO, IL 60601
                                  APPLICANT:
                                  PICCIOLINI,
                                  CHRISTIAN

                                  CORRESPONDENT’S
                                  REFERENCE/DOCKET
                                  NO:
                                     N/A
                                  CORRESPONDENT
                                  E-MAIL ADDRESS:


                                  marcus.harris@saul.com



                                                           OFFICE ACTION

                                  STRICT DEADLINE TO RESPOND TO THIS LETTER
TO AVOID ABANDONMENT OF APPLICANT’S TRADEMARK APPLICATION, THE USPTO MUST RECEIVE APPLICANT’S
COMPLETE RESPONSE TO THIS LETTER WITHIN 6 MONTHS OF THE ISSUE/MAILING DATE BELOW. A RESPONSE
TRANSMITTED THROUGH THE TRADEMARK ELECTRONIC APPLICATION SYSTEM (TEAS) MUST BE RECEIVED BEFORE
MIDNIGHT EASTERN TIME OF THE LAST DAY OF THE RESPONSE PERIOD.


ISSUE/MAILING DATE: 2/26/2018

The referenced application has been reviewed by the assigned trademark examining attorney. Applicant must respond timely and completely to
the issue(s) below. 15 U.S.C. §1062(b); 37 C.F.R. §§2.62(a), 2.65(a); TMEP §§711, 718.03.

The trademark examining attorney has searched the USPTO’s database of registered and pending marks and has found no similar registered
marks that would bar registration under Trademark Act Section 2(d). TMEP §704.02; see 15 U.S.C. §1052(d). However, a mark in a prior-filed
pending application may present a bar to registration of applicant’s mark.
                 Case: 1:18-cv-06967 Document #: 1-4 Filed: 10/17/18 Page 3 of 9 PageID #:31



SUMMARY OF ISSUES:
   Prior-Filed Application
   Partial Specimen Refusal
   Identification Of Services
   Multiple-Class Application Requirements

PRIOR-FILED APPLICATION

The filing date of pending U.S. Application Serial No. 87615677 precedes applicant’s filing date. See attached referenced application. If the
mark in the referenced application registers, applicant’s mark may be refused registration under Trademark Act Section 2(d) because of a
likelihood of confusion between the two marks. See 15 U.S.C. §1052(d); 37 C.F.R. §2.83; TMEP §§1208 et seq. Therefore, upon receipt of
applicant’s response to this Office action, action on this application may be suspended pending final disposition of the earlier-filed referenced
application.

In response to this Office action, applicant may present arguments in support of registration by addressing the issue of the potential conflict
between applicant’s mark and the mark in the referenced application. Applicant’s election not to submit arguments at this time in no way limits
applicant’s right to address this issue later if a refusal under Section 2(d) issues.

PARTIAL SPECIMEN REFUSAL

THIS PARTIAL REFUSAL APPLIES TO CLASS 42 ONLY

Registration is refused because the specimen does not show the applied-for mark in use in commerce in International Class 42. Trademark Act
Sections 1 and 45, 15 U.S.C. §§1051, 1127; 37 C.F.R. §§2.34(a)(1)(iv), 2.56(a); TMEP §§904, 904.07(a), 1301.04(g)(i). Specifically, the
specimen states that the applicant "support[s] counselors and social workers working with individuals looking to change." However, the
identification specifies that the applicant is applying for counseling and social services. It is not clear from the specimen that the applicant is
providing counseling services, as the specimen merely states that the applicant will "support counselors and social workers." Further, as the
identification does not specify the type of social services, it is not clear whether this specimen supports the services or not.

An application based on Trademark Act Section 1(a) must include a specimen showing the applied-for mark in use in commerce for each
international class of services identified in the application or amendment to allege use. 15 U.S.C. §1051(a)(1); 37 C.F.R. §§2.34(a)(1)(iv),
2.56(a); TMEP §§904, 904.07(a).

Examples of specimens for services include advertising and marketing materials, brochures, photographs of business signage and billboards, and
webpages that show the mark used in the actual sale, rendering, or advertising of the services. See TMEP §1301.04(a), (h)(iv)(C). Specimens
comprising advertising and promotional materials must show a direct association between the mark and the services. TMEP §1301.04(f)(ii).

Applicant may respond to this refusal by satisfying one of the following for each applicable international class:

       (1)     Submit a different specimen (a verified “substitute” specimen) that (a) was in actual use in commerce at least as early as the
               filing date of the application or prior to the filing of an amendment to allege use and (b) shows the mark in actual use in
               commerce for the services identified in the application or amendment to allege use. A “verified substitute specimen” is a
               specimen that is accompanied by the following statement made in a signed affidavit or supported by a declaration under 37
               C.F.R. §2.20: “The substitute (or new, or originally submitted, if appropriate) specimen(s) was/were in use in commerce at least
               as early as the filing date of the application or prior to the filing of the amendment to allege use.” The substitute specimen cannot
               be accepted without this statement.

       (2)     Amend the filing basis to intent to use under Section 1(b), for which no specimen is required. This option will later necessitate
               additional fee(s) and filing requirements such as providing a specimen.

For an overview of both response options referenced above and instructions on how to satisfy either option online using the Trademark Electronic
Application System (TEAS) form, please go to http://www.uspto.gov/trademarks/law/specimen.jsp.

Although applicant’s mark has been refused registration, applicant may respond to the refusal(s) by submitting evidence and arguments in
support of registration. However, if applicant responds to the refusal(s), applicant must also respond to the requirement(s) set forth below.

IDENTIFICATION OF SERVICES

The below entries in the identification of services are misclassified, indefinite and overly-broad. See 37 C.F.R. §2.32(a)(6); TMEP §1402.01.
                  Case: 1:18-cv-06967 Document #: 1-4 Filed: 10/17/18 Page 4 of 9 PageID #:32


      "Social services in the field of helping individuals disengage from extremist movements and ideologies" is overly-broad and indefinite. It
      is not clear from the entry what services the applicant is providing. For example, "Organizing and conducting support groups in the field
      of {indicate field or subject matter}", "Counseling in the field of personal development, namely, self-improvement, self-fulfillment, and
      interpersonal communication" are in Class 45.

      "Providing counseling to individuals to assist them in disengaging from extremist movements and ideologies" is misclassified, indefinite,
      and overly-broad as "Psychological counseling" is in Class 44, Spiritual counseling" is in Class 45, etc.

Applicant may adopt the following identification, if accurate:

Class 41:      Acceptable

Class 42:      Social services in the field of helping individuals disengage from extremist movements and ideologies; Providing counseling to
               individuals to assist them in disengaging from extremist movements and ideologies

Class 44:      Providing [indicate type of counseling, e.g., psychological, mental health] counseling to individuals to assist them in disengaging
               from extremist movements and ideologies

Class 45:      Social services, namely, [indicate services, e.g., Organizing and conducting support groups, Personal development in the
               nature of self-improvement counseling] in the field of helping individuals disengage from extremist movements and ideologies;
               Providing [indicate type of counseling, e.g., spiritual] counseling to individuals to assist them in disengaging from extremist
               movements and ideologies

Applicant may amend the identification to clarify or limit the goods and/or services, but not to broaden or expand the goods and/or services
beyond those in the original application or as acceptably amended. See 37 C.F.R. §2.71(a); TMEP §1402.06. Generally, any deleted goods
and/or services may not later be reinserted. See TMEP §1402.07(e).

For assistance with identifying and classifying goods and services in trademark applications, please see the USPTO’s online searchable U.S.
Acceptable Identification of Goods and Services Manual. See TMEP §1402.04.

MULTIPLE-CLASS APPLICATION REQUIREMENTS

The application references goods and/or services based on use in commerce in more than one international class; therefore, applicant must satisfy
all the requirements below for each international class:

   (1)      List the goods and/or services by their international class number in consecutive numerical order, starting with the lowest
            numbered class (for example, International Class 3: perfume; International Class 18: cosmetic bags sold empty).

   (2)      Submit a filing fee for each international class not covered by the fee(s) already paid (view the USPTO’s current fee schedule).
            Specifically, the application identifies services based on use in commerce that are classified in at least three classes; however,
            applicant submitted a fee(s) sufficient for only two classes. Applicant must either (a) submit the filing fees for the classes not covered
            by the submitted fees or (b) restrict the application to the number of classes covered by the fees already paid.

   (3)      Submit verified dates of first use of the mark anywhere and in commerce for each international class. See more information
            about verified dates of use.

   (4)      Submit a specimen for each international class. The current specimen is acceptable for class 41; and applicant needs a specimen
            for classes 44 and 45. See more information about specimens.

            Examples of specimens for services include advertising and marketing materials, brochures, photographs of business signage and
            billboards, and website printouts that show the mark used in the actual sale, rendering, or advertising of the services.

   (5)      Submit a verified statement that “ The specimen was in use in commerce on or in connection with the goods and/or services
            listed in the application at least as early as the filing date of the application.” See more information about verification.

See 15 U.S.C. §§1051(a), 1112; 37 C.F.R. §§2.32(a)(6)-(7), 2.34(a)(1), 2.86(a); TMEP §§904, 1403.01, 1403.02(c).

See an overview of the requirements for a Section 1(a) multiple-class application and how to satisfy the requirements online using the Trademark
Electronic Application System (TEAS) form.

RESPONSE
                  Case: 1:18-cv-06967 Document #: 1-4 Filed: 10/17/18 Page 5 of 9 PageID #:33



If applicant has questions regarding this Office action, please telephone or e-mail the assigned trademark examining attorney. All relevant e-
mail communications will be placed in the official application record; however, an e-mail communication will not be accepted as a response to
this Office action and will not extend the deadline for filing a proper response. See 37 C.F.R. §§2.62(c), 2.191; TMEP §§304.01-.02, 709.04-
.05. Further, although the trademark examining attorney may provide additional explanation pertaining to the refusal(s) and/or requirement(s) in
this Office action, the trademark examining attorney may not provide legal advice or statements about applicant’s rights. See TMEP §§705.02,
709.06.

 TEAS PLUS OR TEAS REDUCED FEE (TEAS RF) APPLICANTS – TO MAINTAIN LOWER FEE, ADDITIONAL
REQUIREMENTS MUST BE MET, INCLUDING SUBMITTING DOCUMENTS ONLINE: Applicants who filed their application
online using the lower-fee TEAS Plus or TEAS RF application form must (1) file certain documents online using TEAS, including responses to
Office actions (see TMEP §§819.02(b), 820.02(b) for a complete list of these documents); (2) maintain a valid e-mail correspondence address;
and (3) agree to receive correspondence from the USPTO by e-mail throughout the prosecution of the application. See 37 C.F.R. §§2.22(b),
2.23(b); TMEP §§819, 820. TEAS Plus or TEAS RF applicants who do not meet these requirements must submit an additional processing fee of
$125 per class of goods and/or services. 37 C.F.R. §§2.6(a)(1)(v), 2.22(c), 2.23(c); TMEP §§819.04, 820.04. However, in certain situations,
TEAS Plus or TEAS RF applicants may respond to an Office action by authorizing an examiner’s amendment by telephone or e-mail without
incurring this additional fee.



                                                Hartnett, Megan K.
                                                /Megan Hartnett/
                                                Examining Attorney
                                                Trademark Law Office 123
                                                (571) 270-1977
                                                megan.hartnett@uspto.gov

TO RESPOND TO THIS LETTER: Go to http://www.uspto.gov/trademarks/teas/response_forms.jsp. Please wait 48-72 hours from the
issue/mailing date before using the Trademark Electronic Application System (TEAS), to allow for necessary system updates of the application.
For technical assistance with online forms, e-mail TEAS@uspto.gov. For questions about the Office action itself, please contact the assigned
trademark examining attorney. E-mail communications will not be accepted as responses to Office actions; therefore, do not respond to
this Office action by e-mail.

All informal e-mail communications relevant to this application will be placed in the official application record.

WHO MUST SIGN THE RESPONSE: It must be personally signed by an individual applicant or someone with legal authority to bind an
applicant (i.e., a corporate officer, a general partner, all joint applicants). If an applicant is represented by an attorney, the attorney must sign the
response.

PERIODICALLY CHECK THE STATUS OF THE APPLICATION: To ensure that applicant does not miss crucial deadlines or official
notices, check the status of the application every three to four months using the Trademark Status and Document Retrieval (TSDR) system at
http://tsdr.uspto.gov/. Please keep a copy of the TSDR status screen. If the status shows no change for more than six months, contact the
Trademark Assistance Center by e-mail at TrademarkAssistanceCenter@uspto.gov or call 1-800-786-9199. For more information on checking
status, see http://www.uspto.gov/trademarks/process/status/.

TO UPDATE CORRESPONDENCE/E-MAIL ADDRESS: Use the TEAS form at http://www.uspto.gov/trademarks/teas/correspondence.jsp.
Case: 1:18-cv-06967 Document #: 1-4 Filed: 10/17/18 Page 6 of 9 PageID #:34
Case: 1:18-cv-06967 Document #: 1-4 Filed: 10/17/18 Page 7 of 9 PageID #:35
Case: 1:18-cv-06967 Document #: 1-4 Filed: 10/17/18 Page 8 of 9 PageID #:36
                 Case: 1:18-cv-06967 Document #: 1-4 Filed: 10/17/18 Page 9 of 9 PageID #:37


To:                   PICCIOLINI, CHRISTIAN (marcus.harris@saul.com)
Subject:              U.S. TRADEMARK APPLICATION NO. 87682122 - EXITUSA - N/A
Sent:                 2/26/2018 12:37:41 PM
Sent As:              ECOM123@USPTO.GOV
Attachments:

                            UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)



                                        IMPORTANT NOTICE REGARDING YOUR
                                           U.S. TRADEMARK APPLICATION

                                 USPTO OFFICE ACTION (OFFICIAL LETTER) HAS ISSUED
                                 ON 2/26/2018 FOR U.S. APPLICATION SERIAL NO. 87682122

Please follow the instructions below:

(1) TO READ THE LETTER: Click on this link or go to http://tsdr.uspto.gov, enter the U.S. application serial number, and click on
“Documents.”

The Office action may not be immediately viewable, to allow for necessary system updates of the application, but will be available within 24
hours of this e-mail notification.

(2) TIMELY RESPONSE IS REQUIRED: Please carefully review the Office action to determine (1) how to respond, and (2) the applicable
response time period. Your response deadline will be calculated from 2/26/2018 (or sooner if specified in the Office action). A response
transmitted through the Trademark Electronic Application System (TEAS) must be received before midnight Eastern Time of the last day of the
response period. For information regarding response time periods, see http://www.uspto.gov/trademarks/process/status/responsetime.jsp.

Do NOT hit “Reply” to this e-mail notification, or otherwise e-mail your response because the USPTO does NOT accept e-mails as
responses to Office actions. Instead, the USPTO recommends that you respond online using the TEAS response form located at
http://www.uspto.gov/trademarks/teas/response_forms.jsp.

(3) QUESTIONS: For questions about the contents of the Office action itself, please contact the assigned trademark examining attorney. For
technical assistance in accessing or viewing the Office action in the Trademark Status and Document Retrieval (TSDR) system, please e-mail
TSDR@uspto.gov.


                                                              WARNING

Failure to file the required response by the applicable response deadline will result in the ABANDONMENT of your application. For
more information regarding abandonment, see http://www.uspto.gov/trademarks/basics/abandon.jsp.

PRIVATE COMPANY SOLICITATIONS REGARDING YOUR APPLICATION: Private companies not associated with the USPTO are
using information provided in trademark applications to mail or e-mail trademark-related solicitations. These companies often use names that
closely resemble the USPTO and their solicitations may look like an official government document. Many solicitations require that you pay
“fees.”

Please carefully review all correspondence you receive regarding this application to make sure that you are responding to an official document
from the USPTO rather than a private company solicitation. All official USPTO correspondence will be mailed only from the “United States
Patent and Trademark Office” in Alexandria, VA; or sent by e-mail from the domain “@uspto.gov.” For more information on how to handle
private company solicitations, see http://www.uspto.gov/trademarks/solicitation_warnings.jsp.
